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   1 KELLY M. KLAUS (State Bar No. 161091)
       kelly.klaus@mto.com
   2 MELINDA E. LEMOINE (State Bar No. 235670)
       Melinda.lemoine@mto.com
   3 ELIZABETH A. KIM (State Bar No. 295277)
       elizabeth.kim@mto.com
   4 MUNGER, TOLLES & OLSON LLP
       350 South Grand Avenue
   5 Fiftieth Floor
       Los Angeles, California 90071-3426
   6 Telephone: (213) 683-9100
       Facsimile: (213) 687-3702
   7
       Attorneys for Plaintiffs
   8

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  14
                              UNITED STATES DISTRICT COURT
  15
               CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  16

  17 Amazon Content Services, LLC;                 Case No. 2:18-CV-03325-MWF (AS)
       Columbia Pictures Industries, Inc.;
  18   Disney Enterprises, Inc.; Netflix           PLAINTIFFS’ NOTICE OF
       Studios, LLC; Paramount Pictures            MOTION AND MOTION FOR
  19   Corporation; Sony Pictures Television       DEFAULT JUDGMENT AGAINST
       Inc.; Twentieth Century Fox Film            DEFENDANTS JASON
  20   Corporation; Universal City Studios         LABOSSIERE AND NELSON
       Productions LLLP; Universal Cable           JOHNSON
  21   Productions LLC; Universal Television
       LLC; Warner Bros. Entertainment Inc.,
  22                                               Judge: Hon. Michael W. Fitzgerald
                    Plaintiffs,
  23                                               Date: November 18, 2019
             vs.                                   Time: 10:00 a.m.
  24                                               Ctrm: 5A
       Set Broadcast, LLC d/b/a Setvnow;
  25 Jason Labossiere; Nelson Johnson,
                                                   Filed concurrently:
  26                Defendants.                     Declaration of Elizabeth A. Kim
                                                    [Proposed] Order
  27

  28
           PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR DEFAULT JUDGMENT AGAINST INDIVIDUAL
                                                                                   DEFENDANTS
                                                                CASE NO. 2:18-CV-03325-MWF (AS)
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   1                               NOTICE OF MOTION
   2 TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

   3        PLEASE TAKE NOTICE that on November 18, 2019, at 10:00 a.m., or as
   4 soon thereafter as counsel may be heard in Courtroom 5A of the above-captioned

   5 Court, located at 350 West First Street, Los Angeles, California, 90012, Plaintiffs

   6 Amazon Content Services, LLC, Columbia Pictures Industries, Inc., Disney

   7 Enterprises, Inc., Netflix Studios, LLC, Paramount Pictures Corporation, Twentieth

   8 Century Fox Film Corporation, Universal City Studios Productions LLLP, and

   9 Warner Bros. Entertainment Inc., (“Plaintiffs”) will and hereby do move pursuant to

  10 Federal Rule of Civil Procedure 55(b)(2) for Default Judgment against Defendants

  11 Jason Labossiere and Nelson Johnson.

  12        This motion is based on this Notice of Motion and Motion; the attached
  13 Memorandum of Points and Authorities; the accompanying Declaration of Elizabeth

  14 A. Kim; the pleadings and papers on file in this action; and any further evidence or

  15 argument that may be presented to the Court at or prior to the submission of this

  16 motion.

  17

  18 DATED: October 7, 2019                MUNGER, TOLLES & OLSON LLP
  19

  20

  21
                                           By:        /s/ Kelly M. Klaus
                                               KELLY M. KLAUS
  22                                       Attorneys for Plaintiffs
  23

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                             PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR DEFAULT JUDGMENT
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   1                MEMORANDUM OF POINTS AND AUTHORITIES
   2 I.     INTRODUCTION
   3        Plaintiffs ask the Court to enter a default judgment against Defendants Jason
   4 Labossiere (“Labossiere”) and Nelson Johnson (“Johnson”) (jointly, “Defendants”).

   5 pursuant to Federal Rule of Civil Procedure 55(b)(2). Defendants failed to respond

   6 to this Court’s September 5, 2019 Order to Show Cause as to why their Answer filed

   7 on June 18, 2018 should not be stricken for failure to participate in the litigation of

   8 this matter. ECF Dkt. 62. On September 23, 2019, following Defendants’ failure to

   9 respond, the Court ordered the Clerk of the Court to strike Defendants’ Answer and

  10 enter default. ECF Dkt. 63. The Clerk entered default that same day. The Court

  11 further ordered Plaintiffs to file a motion for default judgment on or before October

  12 7, 2019. Plaintiffs respectfully submit this motion for default judgment.

  13        The Court granted default judgment against Defendant Set Broadcast, LLC on
  14 July 31, 2019. ECF Dkt. 58 (hereinafter “Set Broadcast Default Judgment Order”).

  15 Defendants Labossiere and Johnson are the individual Defendants who operated,

  16 managed, and ultimately profited from the willful, unlawful business of Set

  17 Broadcast. Settled law permits entry of default against willful infringers like

  18 Labossiere and Johnson who refuse to participate in their own defense. Plaintiffs
  19 therefore respectfully request that the Court enter default judgment against

  20 Labossiere and Johnson and hold them jointly and severally liable for the harm they

  21 inflicted upon Plaintiffs.

  22 II.    BACKGROUND
  23        A.     Factual Background
  24        Jason Labossiere is the owner and operator of Set Broadcast, LLC. Compl.
  25 ¶ 18. Nelson Johnson, is an employee and former authorized manager of Set

  26 Broadcast, LLC. Compl. ¶ 19; Set Broadcast Default Judgment Order at 2. Jointly,

  27 Defendants Labossiere and Johnson are illegal infringers that promised customers

  28 they could “Stream over 500 live channels” of television and “Thousands of On
                                             -2-
                              PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR DEFAULT JUDGMENT
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   1 Demand entertainment options” for “only $20/month” by way of their “Setvnow”

   2 service. Compl. ¶ 1; ECF Dkt. 58 (hereinafter “Set Broadcast Default Judgment

   3 Order”).

   4         Like the defendants in Universal City Studios Productions LLLP et al. v.
   5 TickBox TV LLC et al., 2018 WL 1568698 (No. 17-cv-07496-MWF), and Netflix

   6 Studios, LLC et al. v. Dragon Media, Inc. et al., (18-CV-00230-MWF), Defendants

   7 encouraged widespread infringement through unauthorized Internet streams of

   8 movies and television shows by enabling their customers to find high-quality, high-

   9 speed, reliable—but completely illegal—content sources.

  10

  11

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  16
       See ECF Dkt. 53-2 ¶ 7, Ex. 1; Set Broadcast Default Judgment Order at 2.
  17
             Defendants offered illegal access to streams of Plaintiffs’ Copyrighted Works.
  18
       See Set Broadcast Default Judgment Order at 2 (“Defendants promote Setvnow as a
  19
       substitute for cable television subscriptions and video-on-demand services like
  20
       Amazon Prime Video and Netflix.”). The Setvnow service provided customers with
  21
       a built-in media player, curated menus of live television channels, and on-demand
  22
       streams of movies and television shows. Compl. ¶ 31; Set Broadcast Default
  23
       Judgment Order at 2.
  24
             As set forth in the Declaration of Jan van Voorn submitted in support of
  25
       Plaintiffs’ Motion for Default Judgment against Set Broadcast, LLC (ECF Dkt. 53-
  26
       1), investigators using the Setvnow service searched for and found links to each and
  27
       every one of the 51 Copyrighted Works listed in Exhibit A to the Complaint. ECF
  28
                                                -3-
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   1 Dkt. 53-1 ¶¶ 4-6. The investigators confirmed that the links Setvnow returned

   2 unauthorized streams of each of the 51 Copyrighted Works listed in Exhibit A to the

   3 Complaint. Id. ¶ 6.

   4        B.     Procedural Background
   5        Plaintiffs filed their Complaint on April 20, 2018. ECF Dkt. 1. Defendants
   6 retained counsel, and pursuant to stipulation, filed an Answer on June 19, 2018,

   7 ECF Dkt. 18. The parties exchanged some initial discovery. They also had

   8 preliminary settlement discussions but these went nowhere. Plaintiffs ultimately

   9 had to move to compel Defendants’ depositions. ECF Dkt. 22. Then, on February

  10 25, 2019, Joseph Shapiro, counsel for Defendants and co-Defendant Set Broadcast

  11 moved to withdraw. ECF Dkt. 34. The Court denied Mr. Shapiro’s motion to

  12 withdraw without prejudice, ECF Dkt. 39, but granted his corrected motion to

  13 withdraw on April 17, 2019, ECF Dkt. 45.

  14        In the Order granting the motion to withdraw, the Court stayed this action
  15 until May 13, 2019, to permit Defendants to file a notice with the Court that they

  16 had retained new counsel. ECF Dkt. 45 at 2. In that same Order, the Court ordered

  17 Set Broadcast to show cause why its Answer should not be stricken. Set Broadcast

  18 failed to respond to the Court’s Order to Show Cause, and on May 20, 2019,
  19 Plaintiffs applied to the Clerk for entry of default, ECF Dkt. 47, and the Clerk

  20 entered default pursuant to Federal Rule of Civil Procedure 55(a) on May 29, 2019,

  21 ECF Dkt. 49. Plaintiffs moved for default judgment and a permanent injunction

  22 against Set Broadcast, LLC, ECF Dkt. 53, which the Court entered on July 31, 2019,

  23 ECF Dkt. 59. Defendants Labossiere and Nelson did not file any notice with the

  24 Court in response to the Court’s April 17, 2019 Order.

  25        Plaintiffs continued to attempt to litigate this matter, but Defendants
  26 Labossiere and Nelson refused to participate. On September 4, 2019, after multiple

  27 failed attempts to communicate with Defendants, Plaintiffs filed a Status Report and

  28 Request for Briefing Schedule and Guidance re Notice Procedure for Motion for
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    1 Default Judgment. ECF Dkt. 61. On September 5, 2019, the Court issued an Order

    2 to Show Cause directing Defendants Labossiere and Nelson to show cause, in

    3 writing, no later than September 18, 2019, their full mailing addresses and telephone

    4 numbers, as well as why their Answer filed on June 18, 2018 should not be stricken

    5 for failure to participate in the litigation of this matter. ECF Dkt. 62. September 18

    6 came and went without a response from Defendants.

    7        On September 23, 2019, following Defendants’ failure to respond, the Court
    8 ordered the Clerk of the Court to strike Defendants’ Answer and enter default. ECF

    9 Dkt. 63. The Clerk entered default that same day. The Court further ordered

   10 Plaintiffs to file a motion for default judgment on or before October 7, 2019.

   11 Accordingly, Plaintiffs submit the instant motion.

   12        C.     Legal Standard
   13        Granting default judgment is within the Court’s discretion. PepsiCo, Inc. v.
   14 California Sec. Cans, 238 F. Supp. 2d 1172, 1174 (C.D. Cal. 2002). The Court may

   15 enter default judgment following the entry of default by the Clerk of the Court. Fed.

   16 R. Civ. P 55(b); PepsiCo, 238 F. Supp. 2d at 1174. “Upon entry of default, the well-

   17 pleaded allegations of the complaint relating to a defendant’s liability are taken as

   18 true, with the exception of the allegations as to the amount of damages.” PepsiCo,
   19 238 F. Supp. 2d at 1175. The Court may hold hearings to conduct an accounting,

   20 determine the amount of damages, establish the truth of any allegation, or

   21 investigate any other matter. Fed. R. Civ. P. 55(b).

   22        In the Ninth Circuit, a court may consider the following factors in considering
   23 whether to enter default judgment:

   24        (1) the possibility of prejudice to the plaintiff, (2) the merits of plaintiff’s
   25        substantive claim, (3) the sufficiency of the complaint, (4) the sum of money
   26        at stake in the action; (5) the possibility of a dispute concerning material facts;
   27        (6) whether the default was due to excusable neglect, and (7) the strong policy
   28
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    1         underlying the Federal Rules of Civil Procedure favoring decisions on the
    2         merits
    3 Eitel v. McCool, 782 F.2d 1470, 1471-72 (9th Cir. 1986). The weight of these

    4 factors compel the entry of default judgment against Defendants in this case.

    5         D.       Plaintiffs Have Satisfied the Procedural Requirements for Default
                       Judgment
    6
              In compliance with Local Rule 55-1, Plaintiffs’ motion for default judgment
    7
        is supported by the Kim Declaration, which establishes that:
    8
              •        The Clerk entered default against Defendants on September 23, 2019.
    9                  Kim Decl. ¶ 2; ECF Dkt. 64.
   10         •        Default was entered as to the Complaint. Kim Decl. ¶ 2; ECF Dkt. 64.
   11         •        Defendants Labossiere and Johnson are not infants, incompetent
                       persons, or subject to the Servicemembers Civil Relief Act. Kim Decl.
   12                  ¶¶ 3, 4.
   13         •        Plaintiffs have served the Notice of Motion and Motion for Default
                       Judgment on Defendants. Kim Decl. ¶¶ 5, 6.
   14
              This Court has jurisdiction to enter judgment in this matter. Taking the
   15
        Complaint’s well-pleaded allegations as true, the Court has personal jurisdiction
   16
        because Defendants have purposefully consummated transactions with residents of
   17
        California and purposefully availed themselves of the benefits of the forum District
   18
        by conducting activities here. Plaintiffs’ claims arise from Defendants’ forum-
   19
        related activities, including openly encouraging their customers in California to
   20
        obtain streams of infringing content and using Plaintiffs’ or their affiliates’
   21
        trademarks for television channels to demonstrate the range of available infringing
   22
        content. Defendants induced the infringement of Plaintiffs’ Copyrighted Works
   23
        with the knowledge and intent that their activities would cause significant harm in
   24
        California—the locus of most of Plaintiffs’ production and distribution operations.
   25
        Compl. ¶¶ 21-22. Exercise of jurisdiction is therefore reasonable. See Mavrix
   26
        Photo, Inc. v. Brand Techs., Inc., 647 F.3d 1218, 1230-31 (9th Cir. 2011); see also
   27
        O’Reilly v. Valley Ent’mt, Inc., 2011 WL 13258234, at *2-4 (specific jurisdiction
   28
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    1 over infringing defendant reasonable in default judgment) (N.D. Cal. Jan. 4, 2011),

    2 adopted by, 2011 WL 13260734 (N.D. Cal. Feb. 16, 2011).

    3         The Court also has subject-matter jurisdiction over this action, as Plaintiffs’
    4 claims arise under the federal Copyright Act. See 28 U.S.C. §§ 1331, 1338(a), and

    5 17 U.S.C. § 501(b).

    6         E.     The Eitel Factors Favor Entry of Default Judgment
    7         “[E]xcept for the strong policy favoring a decision on the merits, which is not
    8 dispositive, the Eitel factors weigh in favor of granting the Motion.” Set Broadcast

    9 Default Judgment Order at 5. Defendants Labossiere and Johnson owned, operated,

   10 and managed Set Broadcast and willfully and flagrantly induced the infringement of

   11 Plaintiffs’ Copyrighted Works. The Court’s determination that default was

   12 appropriate with respect to Set Broadcast applies equally to Defendants Labossiere

   13 and Johnson: the individuals behind the corporate entity.

   14                1.     Plaintiffs Will Suffer Prejudice Absent Entry of Default
                            Judgment
   15
              Pursuant to the Court’s September 5, 2019 Order to Show Cause and
   16
        September 23, 2019 Order, Defendants’ Answer has been stricken and Defendants
   17
        have failed to participate in this litigation since their counsel withdrew in late April.
   18
        Without a default judgment, Plaintiffs will be deprived of any remedy for the
   19
        injuries Plaintiffs have sustained from Defendants’ widespread infringement. See
   20
        Star Fabrics, Inc. v. 3Free NYC, Inc., 2013 WL 12124095, at *2 (C.D. Cal. Dec. 9,
   21
        2013) (first factor favors plaintiff where it would otherwise be unable to recover
   22
        damages from infringer); see also China Cent. Tele. v. Create New. Tech. (HK) Ltd.,
   23
        No. CV 15-01869 MMM (AJWx), 2015 WL 12732432, at *8 (C.D. Cal. Dec. 7,
   24
        2015) (same). The first Eitel factor weighs in favor of default judgment.
   25

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    1                    2.     The Merits of Plaintiffs’ Claims and Sufficiency of the
                                Complaint Weigh in Favor of Default Judgment
    2
                 The second and third Eitel factors require that Plaintiffs “state a claim on
    3
        which [they] may recover.” 1 PepsiCo, 238 F. Supp. 2d at 1175. To state copyright
    4
        infringement claims, Plaintiffs need only (1) “show ownership” and (2) a violation
    5
        of “at least one exclusive right” under 17 U.S.C. § 106. A&M Records, Inc. v.
    6
        Napster, Inc., 239 F.3d 1004, 1013 (9th Cir. 2001). Plaintiffs satisfy both
    7
        requirements.
    8
                 Ownership: Plaintiffs’ ownership of their Copyrighted Works is
    9
        uncontroverted. Plaintiffs have already submitted a representative list of
   10
        Copyrighted Works that were infringed through the Setvnow service, ECF Dkt. 53-
   11
        3, Exh. 55, and certificates of registration issued by the Copyright Office for each
   12
        Work, id., Exhs. 4-54. These certificates create a presumption of copyright validity
   13
        and ownership. 17 U.S.C. § 410(c); United Fabrics Int’l, Inc. v. C&J Wear, Inc.,
   14
        630 F.3d 1255, 1257 (9th Cir. 2011).
   15
                 Violation of Plaintiffs’ Exclusive Right Under Copyright: Defendants
   16
        intentionally induced the infringement of Plaintiffs’ Copyrighted Works,
   17
        specifically, the infringement of their exclusive right of public performance, 17
   18
        U.S.C. § 106(4). ECF Dkt. 1. Under the Supreme Court’s decision in Metro-
   19
        Goldwyn-Mayer Studios Inc. v. Grokster, Ltd., 545 U.S. 913, 936-37 (2005), a party
   20
        that distributes a product “with the object of promoting its use to infringe copyright,
   21
        as shown by clear expression or other affirmative steps taken to foster infringement,
   22
        is liable for the resulting acts of infringement by third parties.” A plaintiff
   23
        establishes inducement liability in the Ninth Circuit liability by showing:
   24
        “(1) distribution of a device or product [by defendant], (2) acts of infringement [by
   25
        third parties], (3) an object [of the defendant] of promoting [the device’s or
   26
        product’s] use to infringe copyright, and (4) causation.” Columbia Pictures Indus.,
   27

   28   1
            Unless otherwise noted, internal quotation marks have been omitted.
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    1 Inc. v. Fung, 710 F.3d 1020, 1032 (9th Cir. 2013) (citing Grokster, 545 U.S. at 936-

    2 37). The Complaint pleads all four elements.

    3        First, Defendants distributed and sold the Setvnow service that enabled and
    4 encouraged the infringement of Plaintiffs’ public performance right. Compl. ¶¶ 1-4,

    5 28-45, 49-50, 58-60; ECF Dkt. 53-1 ¶¶ 4-6; see Fung, 710 F.3d at 1033 (“services

    6 available on the Internet” provides a basis for inducement liability).

    7        Second, Defendants’ objective in distributing the Setvnow service was to
    8 facilitate third parties’ unauthorized streaming, i.e., public performance, of

    9 Plaintiffs’ Copyrighted Works. Compl. ¶¶ 1-4, 29, 41-47. Defendants thereby

   10 induced the direct infringement of Plaintiffs’ public performance right. See TickBox

   11 TV LLC, 2019 WL 1568698, at *9-10 (citing Am. Broad. Cos., Inc. v. Aereo, Inc.,

   12 573 U.S. 431, 446-47 (2014) (service that made Internet streams of content

   13 performed publicly)); see also, e.g., WPIX, Inc. v. ivi, Inc., 691 F.3d 275, 278 (2d

   14 Cir. 2012) (“undisputed” that defendant’s Internet streaming of television programs

   15 infringed public performance right); Warner Bros. Entm’t Inc. v. WTV Sys., Inc.,

   16 824 F. Supp. 2d 1003, 1010 (C.D. Cal. 2011) (“Zediva”) (Internet streaming of

   17 movies and television shows from remote DVD players to users is a public

   18 performance).
   19        Third, Defendants knowingly distributed the Setvnow service “with the object
   20 of promoting its use to infringe copyright.” Fung, 710 F.3d at 1034 (quoting

   21 Grokster, 545 U.S. at 936-37). Defendants encouraged their customers to use the

   22 service to obtain infringing streams of, among other things, “new movies, new

   23 releases,” “Netflix exclusive shows,” and “on-demand television shows and movies

   24 that you were looking for.” Compl. ¶¶ 41-43.

   25        Fourth, the causation requirement is satisfied. “[I]f one provides a service
   26 that could be used to infringe copyrights, with the manifested intent that the service

   27 actually be used in that manner, that person is liable for the infringement that occurs

   28 through the use of the service.” Fung, 710 F.3d at 1037. Defendants distributed and
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    1 promoted the Setvnow service for infringing uses, and third parties predictably

    2 engaged in precisely that infringement.

    3               3.    The Sum of Money at Stake is Proportional to the Harm
    4        This factor considers the “the amount of money at stake in relation to the
    5 seriousness of the [defaulting party’s] conduct. Eitel factor also weighs in favor of

    6 default judgment. PepsiCo, Inc., 238 F.Supp.2d at 1176. As discussed infra,

    7 Plaintiffs seek an award of $7,650,000 in statutory damages—the same amount the

    8 Court awarded against co-Defendant Set Broadcast, LLC. This figure represents the

    9 statutory maximum of $150,000 for Defendants’ inducement of the infringement of

   10 each of the 51 Copyrighted Works listed in Exhibit A to the Complaint. See 17

   11 U.S.C. § 504(c)(1)-(2) (range of damages for willful copyright infringement is $750-

   12 $150,000 per work infringed). These 51 representative works represent a tiny

   13 fraction of the thousands of Plaintiffs’ Copyrighted Works that Defendants likely

   14 illegally infringed, given that the Setvnow service not only offered “Thousands of

   15 On demand” options, but also streamed “over 500 Live” television channels with

   16 Plaintiffs’ Copyrighted Works.

   17        As noted, Plaintiffs’ investigators used the Setvnow service to search for and
   18 obtain unauthorized streams of each of the Works listed in Exhibit A. See ECF Dkt.
   19 53-1, ¶¶ 4-6. Defendants operated a successful illegal business: Set Broadcast had

   20 over 260,000 monthly subscribers. See ECF Dkt 53-2, ¶ 9. A significant percentage

   21 of those subscribers undoubtedly accessed unauthorized streams of some or all of

   22 those same Works, meaning Defendants’ inducement of infringement of the Works

   23 was on a mass scale.

   24               4.    There Is No Possibility of Dispute Regarding Material Facts
   25        A defendant’s failure to respond to a complaint indicates that “the likelihood
   26 that any genuine issue may exist is, at best, remote.” Philip Morris USA, Inc. v.

   27 Castworld Prods., Inc., 219 F.R.D. 494, 500 (C.D. Cal. 2003). As default has been

   28 entered against Defendants, there is no possible dispute concerning the material
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    1 facts because the factual allegations of Plaintiffs’ complaint are taken as true.

    2 PepsiCo, 238 F. Supp. 2d at 1177; Set Broadcast Default Judgment Order at 1. This

    3 Eitel factor also weighs in favor of default judgment.

    4                5.     There Is No Possibility of Excusable Neglect
    5         There are no facts to suggest that Defendants’ failure to respond to the
    6 Court’s September 5, 2019 Order to Show Cause, or the Clerk’s September 23, 2019

    7 entry of default resulted from excusable neglect. Defendants failed to comply with

    8 the Court’s Orders, failed to respond to multiple communications from Plaintiffs’

    9 counsel and attempts by Plaintiffs to move this litigation forward, and otherwise

   10 failed to participate in this litigation.

   11                6.     The Policy for Decisions on the Merits Does Not Preclude
                            Default Judgment
   12
              The final Eitel factor considers the preference for deciding cases on the
   13
        merits, see Eitel, 782 F.2d at 1471-72, but “this factor, standing alone, cannot
   14
        suffice to prevent entry of default judgment for otherwise default judgment could
   15
        never be entered,” Warner Bros. Ent’mt Inc. v. Caridi, 346 F. Supp. 2d 1068, 1073
   16
        (C.D. Cal. 2004). Defendants’ default is the reason there can be no decision on the
   17
        merits. This factor should not reward Defendants’ refusal to satisfy their obligations
   18
        to this Court and to Plaintiffs.
   19
              F.     Plaintiffs Are Entitled to All of Their Requested Relief
   20
                     1.     Plaintiffs’ Request for Statutory Damages for Willful
   21                       Copyright Infringement Is Reasonable
   22         The Copyright Act authorizes statutory damages of $750 to $30,000 per
   23 infringed work, and enhanced statutory damages of up to $150,000 per infringed

   24 work for willful infringement. 17 U.S.C. § 504(c)(1)-(2). “Statutory damages are

   25 particularly appropriate in a case . . . in which defendant has failed to mount any

   26 defense or to participate in discovery, thereby increasing the difficulty of

   27 ascertaining plaintiffs actual damages.” Jackson v. Sturkie, 255 F. Supp. 2d 1096,

   28 1101 (N.D. Cal. 2003).
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    1        “Because awards of statutory damages serve both compensatory and punitive
    2 purposes, a plaintiff may recover statutory damages whether or not there is adequate

    3 evidence of the actual damages suffered by plaintiff or of the profits reaped by

    4 defendant” in order to deter future infringement. L.A. News Serv. v. Reuters Tele.

    5 Int’l, Ltd. 149 F.3d 987, 996 (9th Cir. 1998). Here, an award of $7,650,000 reflects

    6 the statutory maximum of $150,000 for each of the 51 representative works

    7 infringed by Defendants. That award would serve the most fundamental purposes of

    8 statutory damages: compensation, punishment, and deterrence. Though this amount

    9 cannot compare to the harm caused by the widespread infringement of Plaintiffs’

   10 Copyrighted Works, the magnitude of this award will serve as a deterrent to other

   11 wrongdoers.

   12                     (a)    Willfulness
   13        As pled in the Complaint, Defendants willfully induced the infringement of
   14 Plaintiffs’ Copyrighted Works. See Caridi, 346 F. Supp. 2d at 1074 (“Because of

   15 the entry of default … the Court must take [plaintiffs’] allegation of willful

   16 infringement as true.”). Defendants’ advertisements and promotions for the

   17 Setvnow service leave no doubt about the character of its infringement. Setvnow

   18 was a service that promised access to “500+ channels” with “Thousands of On
   19 Demand entertainment options” for “ONLY $20 PER MONTH.” Compl. ¶ 29; see

   20 also ECF Dkt. 53-2, ¶ 6 (quoting sponsored reviewers); Set Broadcast Default

   21 Judgment Order at 6 (“as evidenced by Set Broadcast’s numerous advertisements

   22 and promotions for the Setvnow service touting access to “500+ Channels” and

   23 “New Releases,” including movies still in theaters, the Court determines that Set

   24 Broadcast’s infringement was willful.”).

   25                     (b)    Number of Registered Works
   26        Plaintiffs have submitted a representative sample of 51 registered
   27 Copyrighted Works that investigators confirmed were illegally streamed on the

   28 Setvnow service. See Compl. ¶ 16; ECF Dkt. 53-1, ¶¶ 4-6; ECF Dkt. 53-2, ¶¶ 11-
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    1 62, Exs. 4-55 (list of infringed Copyrighted Works and corresponding Certificates of

    2 Registration). As discussed supra, these 51 representative works represent a tiny

    3 fraction of willful and intentional harm Defendants inflicted upon Plaintiffs.

    4 Defendants also appear to have had over 260,000 monthly subscribers to the

    5 Setvnow service, thus the sheer number of unauthorized streams, i.e., infringing

    6 public performances, of Plaintiffs’ Copyrighted Works, likely reached the hundreds

    7 of thousands. See ECF Dkt. 53-2, ¶ 9, Ex. 3.

    8                        (c)    The Statutory Maximum Is Proportional to the Harm
                                    Inflicted by Set Broadcast
    9
                 This Court awarded the statutory maximum against Set Broadcast for its
   10
        widespread, willful, and flagrant inducement—and its failure to defend this action.
   11
        Set Broadcast Default Judgment Order at 6. This reasoning applies equally to
   12
        Defendants Labossiere and Johnson.
   13
                 Other courts in this Circuit and beyond have awarded the statutory maximum
   14
        in default judgment actions involving similar widespread and flagrant infringement.
   15
        See, e.g., Perfect 10, Inc., v. Talisman Comm. Inc., No. CV99-10450 RAP MCx,
   16
        2000 WL 364813, *3-4 (C.D. Cal. Mar. 27, 2000) (awarding maximum statutory
   17
        damages per infringed work for willful infringement on default judgment); Caridi,
   18
        346 F. Supp. 2d at 1074 (same); Graduate Mgmt. Admission Council v. Raju, 267 F.
   19
        Supp. 2d 505, 511-12 (E.D. Va. 2003) (same). Considering the sheer volume of
   20
        unauthorized content available on the Setvnow service, its advertised (and actual)
   21
        availability round-the-clock, and Defendants’ 260,000 monthly users—Defendants
   22
        infringed Plaintiffs’ Copyrighted Works willfully, flagrantly, and on a massive
   23
        scale.
   24
                 The $7,650,000 award Plaintiffs seek is proportional to the immense harm
   25
        Defendants have inflicted on Plaintiffs by inducing the widespread, unauthorized
   26
        streaming of Plaintiffs’ Copyrighted Works. Defendants have deprived Plaintiffs of
   27
        their exclusive rights to control how, when, and to whom they will disseminate their
   28
                                                     -13-
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    1 Copyrighted Works. See Harper & Row Publishers, Inc. v. Nation Enters., 471 U.S.

    2 539, 546 (1985) (“The rights conferred by copyright are designed to assure

    3 contributors to the store of knowledge a fair return for their labors.”); see also

    4 Zediva, 824 F. Supp. 2d at 1012-13 (defendants’ unauthorized streaming

    5 “interfere[s] with Plaintiffs’ ability to control the use and transmission of their

    6 Copyrighted Works, thereby causing irreparable injury.”).

    7        Defendants’ illegal conduct has irreparably undermined the legitimate market
    8 in which consumers can purchase access to the same works, into which Plaintiffs

    9 have invested significantly. See e.g., Grokster, 545 U.S. at 928-29 (discussing

   10 harms from unauthorized distribution of copyrighted works); China Cent. Tele.,

   11 2015 WL 3649187, at *13 (infringing video streaming service caused irreparable

   12 harm because it “interfered with plaintiffs’ ability to develop a lawful market for

   13 internet distribution”); TickBox, 2018 WL 1568698, at *12-13. As is evident from

   14 Defendants’ advertising campaign, the Setvnow service was intended to compete

   15 with authorized and legitimate offerings, including authorized cable and broadcast

   16 networks and licensed VOD services. See Compl. ¶¶ 1-4, 42-44. Defendants have

   17 willfully infringed Plaintiffs’ Copyrighted Works and, in doing so, caused Plaintiffs

   18 and their entire business model immense damage. See Disney Enter. v. VidAngel,
   19 869 F.3d 848, 866 (9th Cir. 2017) (unauthorized streaming “service undermines the

   20 value of the Studios’ copyrighted works, their ‘windowing’ business model, and

   21 their goodwill and negotiating leverage with licensees” causing irreparable harm).

   22 The $7,650,000 statutory damages sought here therefore represents only a fraction

   23 of the actual damages inflicted by Defendants on Plaintiffs.

   24                      (d)    Plaintiffs Are Entitled to a Permanent Injunction
   25        The Copyright Act authorizes courts to grant injunctive relief “to prevent or
   26 restrain infringement of a copyright.” 17 U.S.C. § 502(a). “As a general rule, a

   27 permanent injunction will be granted when liability has been established and there is

   28 a threat of continuing violations.” MAI Systems Corp. v. Peak Computer, Inc., 991
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    1 F.2d 511, 520 (9th Cir. 1993). This is so even where, as here, the infringer has

    2 apparently voluntarily ceased its infringing activities. See, e.g., Metro-Goldwyn-

    3 Mayer Studios, Inc. v. Grokster, Ltd., 518 F. Supp. 2d 1197, 1221-22 (C.D. Cal.

    4 2007) (rejecting purported voluntary “reformation” by infringer and imposing

    5 permanent injunction); see also Walt Disney Co. v. Powell, 897 F.2d 565, 568 (D.C.

    6 Cir. 1990) (affirming permanent injunction where defendant voluntarily ceased

    7 infringing conduct). Accordingly, this Court granted the requested injunctive relief

    8 against Set Broadcast in its July 31, 2019 order. Plaintiffs respectfully request that

    9 Defendants Labossiere and Johnson similarly be enjoined from infringing Plaintiffs’

   10 Copyrighted Works. There is a significant threat of continuing irreparable injuries

   11 to Plaintiffs, which, in conjunction with the strong public interest in the enforcement

   12 of the copyright laws, outweighs the nominal hardship to Defendants.

   13        First, there is a significant threat of future infringement and voluntary
   14 cessation of infringing conduct is no defense to a permanent injunction. In

   15 Grokster, for example, the defendant-infringer attempted to avoid a permanent

   16 injunction by asserting voluntary “reformation” of its infringing ways. Grokster,

   17 518 F. Supp. 2d at 1221-22. Rejecting these self-serving statements, the district

   18 court found that the evidence in the record “warranted … an inference” of future
   19 infringement. Id. at 1221. As is the case here, the “‘overwhelming’ evidence of

   20 [defendant’s] illegal objective … resulted in a ‘staggering’ amount of infringement.”

   21 Id. And, like the defendant in Grokster, Defendants’ Setvnow “business model has

   22 depended on inducement and the company would financially benefit from further

   23 infringement.” Id.

   24        Defendants apparently sold hundreds of thousands of monthly subscriptions
   25 to their Setvnow service, and they sold these subscriptions by advertising the

   26 availability of “Thousands of On Demand” options and “over 500 live” television

   27 channels that featured Plaintiffs’ Copyrighted Works. As in Grokster, Defendants

   28 have every financial incentive to return to their infringing ways. While the
                                                 -15-
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    1 Setvnow service is apparently no longer available, absent a permanent injunction,

    2 nothing will prevent Defendants from launching yet another streaming service that

    3 serves the exact same function as the Setvnow service: providing high-quality, high-

    4 speed, and completely illegal streams of Plaintiffs’ Copyrighted Works to

    5 customers. “[T]he entire purpose of an injunction is to take away defendant’s

    6 discretion not to obey the law.” Canadian Lumber Trade Alliance v. United States,

    7 441 F. Supp. 2d 1259, 1266 (CIT 2006). In light of their willful and egregious

    8 conduct, Defendants should not be afforded that discretion.

    9         Second, an award of monetary damages alone will not adequately compensate
   10 Plaintiffs for the loss of control over the Copyrighted Works, the damage to their

   11 business goodwill, and harm to the continued advancement of the legitimate online

   12 market for distribution of creative works. See TickBox, 2018 WL 1568698, at *13

   13 (“[I]t is unlikely that money damages could adequately compensate for difficult-to-

   14 quantify harms to Plaintiffs’ business models and relationships” from unauthorized

   15 streaming); Zediva, 824 F. Supp. 2d at 1013 (same). Moreover, given Defendants’

   16 default, collecting any monetary award will likely prove quite challenging. Under

   17 these circumstances, a monetary remedy is insufficient. See, e.g., Grokster, 518 F.

   18 Supp. 2d at 1219 (“Damages are no remedy at all if they cannot be collected….”);
   19 Lava Records, LLC v. Ates, Civ. A-05-1314, 2006 WL 1914166, at *3 (W.D. La.

   20 July 11, 2006) (awarding permanent injunction because of “the need to prevent

   21 irreparable harm to Plaintiffs, which will not be remedied by a damage award that

   22 may or may not be collectible”).

   23         Third, the balance of hardships favors Plaintiffs. Any “harm” to Defendants
   24 “does not merit significant equitable protection” as it is the result of its own illegal

   25 conduct. VidAngel, 869 F.3d at 867. In contrast, absent a permanent injunction,

   26 Plaintiffs will face the ongoing threat of continuing, irreparable harm by Defendants

   27 and future infringement.

   28
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    1        Fourth, “the public has a compelling interest in protecting copyright owners’
    2 marketable rights to their work and the economic incentive to continue creating

    3 television programming and motion pictures.” VidAngel, 869 F.3d at 867.

    4        Plaintiffs respectfully request that the Court enter the proposed permanent
    5 injunction against Defendants.

    6                     (e)    Post-Judgment Interest
    7        Plaintiffs respectfully request post-judgment interest calculated “at a rate
    8 equal to the weekly average 1-year constant maturity Treasury yield, as published

    9 by the Board of Governors of the Federal Reserve System, for the calendar week

   10 preceding the date of the judgment.” 28 U.S.C. § 1961(a).

   11 III.   CONCLUSION
   12        Plaintiffs respectfully request that the Court enter default judgment against
   13 Defendants.

   14

   15 DATED: October 7, 2019                 MUNGER, TOLLES & OLSON LLP
   16

   17

   18
                                             By:        /s/ Kelly M. Klaus
                                                 KELLY M. KLAUS
   19                                        Attorneys for Plaintiffs
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